Case 1:04-cv-01321-.]DT-STA Document 19 Filed 09/01/05 Page 10f2 Page|D_;_l

550 m
05 '\%
IN THE UNITED STATES DISTRICT COURT S£p` 0
FOR THE WESTERN DISTRICT OF TENNESSEE / 37 'C'
WESTERN DIVISION . ~ _. ~ , 4-'40

 

PATRICIA J. HUDSON,
P]aintiff,

VS. No. 04-1321-T

JO ANNE B. BARNHART,

COMMISSIONER OF

SOCIAL SECURITY,

Defendant.

ORDER OF REFERENCE

 

This case is hereby referred to United States Magistrate Judge Thomas Anderson for

report and recommendation.

IT IS SO ORDERED.

fban

MES D. TODD
UNITED STATES DISTRICT IUDGE

;AQFMQEF
DATE

This document entered on the docket ace tln compliance
with Ru1e 58 and.-‘or.?Q (a) FF|CP on [ l 1 f 15

l`) sATEs DISTRICT oURT - WESTRNE D"ISRICT oF TNNESSEE

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 19 in
case 1:04-CV-01321 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Dana Dye

P.O. Box 11

105 West End Avenue
Centerville, TN 37033

Honorable J ames Todd
US DISTRICT COURT

